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Exhibit F
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MYNISSAN LOCATE A DEALER LOCAL NISSAN OFFERS BUILD & PRICE ® LIVE CHAT ENGLISH

(fw END OF LEASE

v SHOPPING TOOLS v EXPERIENCE NISSAN Vv COMMERCIAL VEHICLES v

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OWNERS ¥ SEARCH Q

NISSAN VEHICLE

END OF LEASE

When your lease is nearing its conciusion, Nissan Motor
Acceptance Corporation (NMAC) keeps you notified
with mailers and emails outlining your options and
: FEEDBACK
obligations.

NISSAN FINANCE END OF LEASE EXPERIENCE >

a
OPTION 1

GET A NEW NISSAN

https :/Avwww, nissanusa, com/owners/benefits/end-of-tease.html

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12/30/2019 End of Lease | Nissan USA

Turn in your current vehicle, and lease or buy a new Nissan. Our Owner Loyalty Offers help make
this an attractive option. Visit the See All Vehicles section to find out which Nissan model is right
for you.

SEE ALL VEHICLES >

VEHICLE INSPECTION oP

Here are some simple steps to help you complete your lease return: FEEDBACK

1- Schedule your complimentary, but required, vehicle inspection.

Before your vehicle's return date, simply contact the Alliance Inspection Management
Center (AIM) at 800-253-9026, or visit https://selfschedule.aiminspect.com to schedule a
complimentary, but required, vehicle inspection. The inspection takes approximately 30

minutes, and can be done at your Nissan Dealer, your home, or your place of business. An
AIM, certified inspector will provide an assessment copy of chargeable wear and use (if
any), along with a Notice of Option to make repairs prior to return.

2 - Decide if you want to make repairs.

If excess wear and use is discovered during your inspection, you have the option to repair
your vehicle before returning. You may want to discuss the results with your Nissan
dealership or your insurance agent to determine the best course of action.

3 = Make a vehicle-return appointment with your Nissan Dealership.

Your vehicle must be returned to an authorized Nissan Dealership. When you're ready,
call your dealership to schedule an appointment. While at the dealership, you are
required to complete a Federal Odometer/Lease Termination Statement.

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if applicable, you will receive an End-of-Lease liability statement four to six weeks after
the vehicle has been returned to your Nissan Dealer. The statement will detail any
current fees/charges remaining, which may include a disposition fee of up to $395. You
may receive subsequent bills after this liability statement that may include, but are not
limited to property tax, parking tickets; toll violations, etc. that occurred during the time
you were in possession of the leased vehicle.

To learn more about the vehicle inspection process (including conducting your own

inspection) and to see examples of normal and excess wear and use, please view the
Wear and Use Guide.

VEHICLE INSPECTION GUIDE

Check out our dedicated video guide to find

out more about the Nissan End-of-Lease

: . _.| FEEDBACK
inspection, and how to get your vehicle in

top condition.

WEAR AND USE GUIDE-336KB >

OWNER LOYALTY OFFERS +

When it's time to return your current vehicle, we want you to stay in the Nissan family. To
thank you for buying or leasing another Nissan, NMAC will waive up to $500 in excess
wear-and-use charges and your $395 disposition fee, if applicable, on your current NMAC
lease.

*Offer good from 120 days prior to, or 30 days after, customer's termination of lease.
Lessee must purchase or lease a new, unused, and unregistered Nissan or INFINITI
vehicle, financed through Nissan Motor Acceptance Corporation (NMAC) or INFINITI
Financial Services (IFS). Offer available to the current lessee or individuals residing in the
same household with proof of residency. Customers must satisfy all obligations to NMAC

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in accordance with their current lease agreement (including remaining payments,
charges for excess mileage and/or wear-and-use, if applicable, and all other fees). The
excess wear-and-use waiver does not apply to excess mileage fees. Lessee is also
responsible for maintenance and repairs. See participating dealer for complete details.

NISSAN OWNER LOYALTY WAIVER OFFER-24KB >

OPTION 2

KEEP YOUR NISSAN FEEDBACK

If you purchase your vehicle, you can avoid excess mileage, wear and use charges. You will not be
responsible for any costs other than the predetermined purchase option price and the incidental
charges stated in your Nissan lease contract or required by law. These may include sales tax,
vehicle registration, a purchase option fee, etc. Certain state and local laws may require you to
pay asmog or safety inspection fee, etc.

OPTION 3

RETURN YOUR NISSAN

If you decide to return your Nissan, we'll make the process as easy as possible.

1- Schedule your complimentary, but required, vehicle inspection.

Before your vehicle's return date, simply contact the Alliance Inspection Management Center
(AIM) at 800-253-9026 or visit https://selfschedule.aiminspect.com to schedule a complimentary,
but required, vehicle inspection. The inspection takes approximately 30 minutes, and can be
done at your Nissan Dealer, your home, or your place of business. An AIM, certified inspector will

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provide an assessment copy of chargeable wear and use (if any), along with a Notice of Option to
make repairs prior to return.

2 - Decide if you want to make repairs.

If excess wear and use is discovered during your inspection, you have the option to repair your
vehicle before returning. You may want to discuss the results with your Nissan dealership or your
insurance agent to determine the best course of action.

3 - Make a vehicle-return appointment with your Nissan Dealership.

Your vehicle must be returned to an authorized Nissan Dealership, When you're ready, call your
dealership to schedule an appointment. While at the dealership, you are required to complete a
Federal Odometer/Lease Termination Statement.

If applicable, you will receive an End-of-Lease liability statement four to six weeks after the
vehicle has been returned to your Nissan Dealer. The statement will detail any current
fees/charges remaining, including a disposition fee of up to $395. You may receive subsequent
bills after this liability statement that may include, but are not limited to property tax, parzagace
tickets; toll violations, etc. that occurred during the time you were in possession of the leased
vehicle.

To learn more about the vehicie inspection process (including conducting your own inspection)
and to see examples of normal and excess wear and use, please view the Wear and Use Guide

and watch the end of lease video.

VEHICLE INSPECTION GUIDE

Check out our dedicated video guide to find out
more about the Nissan End-of-Lease inspection,
and how-to get your vehicle in top condition.

OTHER END OF LEASE INFORMATION

ADDITIONAL RESOURCES

https:/Avww.nissanusa.com/owners/benefits/end-of-lease.html

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EARLY LEASE TERMINATION +

Customers who wish to terminate their lease early should contact their local Nissan dealer.
Visit our Dealer Locator for contact information.

NISSAN DISPOSITION FEE j=

FEEDBACK
The disposition fee is commonly charged if you don't purchase the vehicle. However, current

lessees qualify for the Loyalty Waiver. With this, any disposition fee you may owe under your
current lease will be waived when you return your current Nissan vehicle and finance or lease
anew, unused, and unregistered Nissan vehicle through NMAC within 30 days of returning
your vehicle.

For further information on End-of-Lease charges, click here.

END-OF-LEASE INSPECTION =

1- Schedule your complimentary, but required, vehicle inspection.

Before your vehicle's return date, simply contact the Alliance Inspection Management Center
(AIM) at 800-253-9026 or visit https://selfschedule.aiminspect.com to schedule a
complimentary, but required, vehicle inspection. The inspection takes approximately 30

minutes, and can be done at your Nissan Dealer, your home, or your place of business. An
AIM, certified inspector will provide an assessment copy of chargeable wear and use (if any),
along with a Notice of Option to make repairs prior to return.

2 - Decide if you want to make repairs.

If excess wear and use is discovered during your inspection, you have the option to repair
your vehicle before returning. You may want to discuss the results with your Nissan
dealership or your insurance agent to determine the best course of action.

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3 - Make a vehicle-return appointment with your Nissan Dealership.

Your vehicle must be returned to an authorized Nissan Dealership. When you're ready, call
your dealership to schedule an appointment. While at the dealership, you are required to
complete a Federal Odometer/Lease Termination Statement.

If applicable, you will receive an End-of-Lease liability statement four to six weeks after the
vehicle has been returned to your Nissan Dealer. The statement will detail any current
fees/charges remaining, which may include a disposition fee of up to $395, Please note,
exceeding your total mileage allowance will result in additional charges. Please refer to your
lease contract to review all its terms and conditions. You may receive subsequent bills after
this liability statement that may include, but are not limited to property tax, parking tickets;
toll violations, etc. that occurred during the time you were in possession of the leased vehicle.

To learn more about the vehicle inspection process (including conducting your own

inspection) and to see examples of normal and excess wear and use, please view the Wear
and Use Guide.

FEEDBACK

VEHICLE INSPECTION GUIDE

Check out our dedicated video guide to find
out more about the Nissan End-of-Lease
inspection, and how to get your vehicle in top
condition.

SHOP FOR YOUR NEW CONTACT US OWNER FAQS
NISSAN NOW :

Cali NMAC directly at 1- Got a question about the
Are you looking to switch 800-778-4211 to get the lease, maintenance,
things up and move into a answers you need to any warranty, or anything else
new Nissan? Take a look at other questions about our with your Nissan? Save

lease return process.

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our wide range of vehicles time and find detailed
to see what's right for you. aaa answers in our FAQs.
BUILD AND PRICE > VIEW OWNER FAQS
>
NEXT STEPS
Log In to MyNISSAN Create an Account Locate a Dealer Nissan Finance

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